        Case 4:07-cv-05944-JST Document 5418 Filed 04/01/19 Page 1 of 5




 1   Guido Saveri (22349)
        guido@saveri.com
 2   R. Alexander Saveri (173102)
        rick@saveri.com
 3   Geoffrey C. Rushing (126910)
        grushing@saveri.com
 4   Matthew D. Heaphy (227224)
        mheaphy@saveri.com
 5   SAVERI & SAVERI, INC.
     706 Sansome Street
 6   San Francisco, CA 94111
     Telephone: (415) 217-6810
 7   Facsimile: (415) 217-6813
 8   Lead Counsel for Direct Purchaser Plaintiffs
 9

10                               UNITED STATES DISTRICT COURT
11                            NORTHERN DISTRICT OF CALIFORNIA
12                                   SAN FRANCISCO DIVISION
13   IN RE: CATHODE RAY TUBE (CRT)                  Master File No. 07-CV-5944-JST
     ANTITRUST LITIGATION
14   ____________________________________           MDL No. 1917
15   This Document Relates to:                      DIRECT PURCHASER PLAINTIFFS’
                                                    ADMINISTRATIVE MOTION TO SEAL
16                                                  DOCUMENTS PURSUANT TO CIVIL
     ALL DIRECT PURCHASER ACTIONS
                                                    LOCAL RULES 7-11 AND 79-5(d)
17

18

19

20

21

22

23

24

25

26

27

28

     DIRECT PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION TO SEAL DOCUMENTS PURSUANT TO
                  CIVIL LOCAL RULES 7-11 AND 79-5(d); Master File No. 07-CV-5944-JST
        Case 4:07-cv-05944-JST Document 5418 Filed 04/01/19 Page 2 of 5




 1          Pursuant to Civil Local Rules 7-11 and 79-5(d) and this Court’s Standing Order Governing

 2   Administrative Motions to File Materials Under Seal, Direct Purchaser Plaintiffs (“DPPs” or

 3   “Plaintiffs”) hereby move the Court for leave to file certain documents under seal. This motion is

 4   supported by the Declaration of R. Alexander Saveri in Support of Direct Purchaser Plaintiffs’

 5   Administrative Motion to Seal Documents Pursuant to Civil Local Rules 7-11 and 79-5(d), dated

 6   April 1, 2019. See Civ. L. R. 79-5(d).

 7          DPPs have reviewed and complied with this Court’s Standing Order Governing

 8   Administrative Motions to File Materials Under Seal.

 9          DPPs have reviewed and complied with Civil Local Rule 79-5. Civil Local Rule 79-5

10   governs the filing under seal of entire documents or portions of documents that contain material

11   that is “privileged, protectable as a trade secret or otherwise entitled to protection under the law.”

12   Civ. L.R. 79-5(a)–(e). Civil Local Rule 79-5(d) provides: “A party seeking to file a document, or

13   portions thereof, under seal (‘the Submitting Party’) must: (1) File an Administrative Motion to

14   File Under Seal, in conformance with Civil L.R. 7-11.”

15          In compliance with Civil Local Rule 79-5(d), DPPs submit this Administrative Motion

16   because they wish to file documents that contain either: (a) material designated by a Defendant

17   pursuant to a Protective Order as “Confidential” or “Highly Confidential”; or (b) analysis of,

18   references to, or information taken directly from material designated by a Defendant pursuant to a

19   Protective Order as “Confidential” or “Highly Confidential.” See id.

20          DPPs seek to file the below material under seal in good faith in order to comply with the

21   Protective Order in this action and the applicable Local Rules. Because the Irico defendants

22   contend that the material they have designated is confidential in nature, it is their burden to

23   establish that the designated information is sealable. Civil L.R. 79-5(e); see Kamakana v. City of

24   Honolulu, 447 F.3d 1172, 1178–80 (9th Cir. 2006). DPPs leave it to this Court’s discretion to

25   determine whether the above material should be filed under seal. Courts have repeatedly

26   emphasized that a party must make a “particularized showing of good cause” and show a

27   “compelling reason” to justify the sealing of motions and papers filed with a court. See Foltz v.

28   State Farm Mutual Auto. Ins. Co., 331 F.3d 1122, 1138 (9th Cir. 2002) (reversing the lower court’s
                                                    1
     DIRECT PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION TO SEAL DOCUMENTS PURSUANT TO
                  CIVIL LOCAL RULES 7-11 AND 79-5(d); Master File No. 07-CV-5944-JST
        Case 4:07-cv-05944-JST Document 5418 Filed 04/01/19 Page 3 of 5




 1   sealing of records because there was no “compelling reason to justify sealing” under the protective

 2   order). As the Ninth Circuit has stated, the “hazard of stipulated protective orders” is that they

 3   “often contain provisions that purport to put the entire litigation under lock and key without regard

 4   to the actual requirements of Rule 26(c).” Kamakana, 447 F.3d at 1183. Plaintiffs file this

 5   administrative motion in order to comply with the Protective Order entered in this action.

 6          DPPs seek leave to file the following documents under seal:

 7             Gray highlighted portions of the Direct Purchaser Plaintiffs’ Opposition to the Irico
                Defendants’ Amended Motions to Dismiss Claims of Direct Purchaser Plaintiffs for
 8              Lack of Subject Matter Jurisdiction;
 9             Exhibits 1-2, 4, 12-13, 15-22, and 26-31 to the Declaration of R. Alexander Saveri in
10              Support of Direct Purchaser Plaintiffs’ Opposition to the Irico Defendants’ Amended
                Motions to Dismiss Claims of Direct Purchaser Plaintiffs for Lack of Subject Matter
11              Jurisdiction;”

12             Gray highlighted portions of the Declaration of David Y. Hwu in Support of Direct
                Purchaser Plaintiffs’ Opposition to the Irico Defendants’ Amended Motions to Dismiss
13              Claims of Direct Purchaser Plaintiffs for Lack of Subject Matter Jurisdiction; and
14
               Exhibit 3 to the Declaration of David Y. Hwu in Support of Direct Purchaser Plaintiffs’
15              Opposition to the Irico Defendants’ Amended Motions to Dismiss Claims of Direct
                Purchaser Plaintiffs for Lack of Subject Matter Jurisdiction.
16

17          The chart below identifies the designating entity for the materials to be sealed:

18
     Document                                                      Designating Entity
19   Gray highlighted portions of the Direct Purchaser
     Plaintiffs’ Opposition to the Irico Defendants’ Amended
20                                                                 Irico Defendants
     Motions to Dismiss Claims of Direct Purchaser Plaintiffs
21   for Lack of Subject Matter Jurisdiction
     Exhibit 1 to the Saveri Declaration: IRI-CRT-00002041–
                                                                   Irico Defendants
22   105
23   Exhibit 2 to the Saveri Declaration: IRI-CRT-00000779–
                                                                   Irico Defendants
     85
24   Exhibit 4 to the Saveri Declaration: Irico Defendants’
     Objections and Responses to Direct Purchaser Plaintiff
25                                                                 Irico Defendants
     Studio Spectrum, Inc.’s First Set of Interrogatories, dated
26   May 4, 2018
     Exhibit 12 to the Saveri Declaration: IRI-CRT-
                                                                   Irico Defendants
27   00003578–79
28
                                                        2
     DIRECT PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION TO SEAL DOCUMENTS PURSUANT TO
                  CIVIL LOCAL RULES 7-11 AND 79-5(d); Master File No. 07-CV-5944-JST
         Case 4:07-cv-05944-JST Document 5418 Filed 04/01/19 Page 4 of 5




 1   Exhibit 13 to the Saveri Declaration: IRI-CRT-00003732 Irico Defendants
 2
     Exhibit 15 to the Saveri Declaration: IRI-CRT-00003546 Irico Defendants
 3
     Exhibit 16 to the Saveri Declaration: IRI-CRT-
                                                                  Irico Defendants
 4   00003568–69

 5   Exhibit 17 to the Saveri Declaration: IRI-CRT-
                                                                  Irico Defendants
     00003576–77
 6
     Exhibit 18 to the Saveri Declaration: IRI-CRT-00003574 Irico Defendants
 7
     Exhibit 19 to the Saveri Declaration: IRI-CRT-00003513 Irico Defendants
 8
     Exhibit 20 to the Saveri Declaration: IRI-CRT-
 9                                                                Irico Defendants
     00003490–97
10   Exhibit 21 to the Saveri Declaration: IRI-CRT-
                                                                  Irico Defendants
     00003498-99
11
     Exhibit 22 to the Saveri Declaration: IRI-CRT-
                                                                  Irico Defendants
12   00003566-67
     Exhibit 26 to the Saveri Declaration: Excerpts of the
13   transcript of the first day of the deposition of Zhang       Irico Defendants
14   Wenkai on March 4, 2019
     Exhibit 27 to the Saveri Declaration: Excerpts of the
15   transcript of the second day of the deposition of Zhang      Irico Defendants
     Wenkai on March 5, 2019
16   Exhibit 28 to the Saveri Declaration: Excerpts of the
     transcript of the first day of the deposition of Wang        Irico Defendants
17
     Zhaojie on March 6, 2019
18   Exhibit 29 to the Saveri Declaration: Excerpts of the
     transcript of the second day of the deposition of Wang       Irico Defendants
19   Zhaojie on March 7, 2019
     Exhibit 30 to the Saveri Declaration: Excerpts of the
20   transcript of the third day of the deposition of Wang        Irico Defendants
21   Zhaojie on March 8, 2019
     Exhibit 31 to the Saveri Declaration: Excerpts of the
22   transcript of the deposition of Donald Clarke on March       Irico Defendants1
     26, 2019
23   Gray highlighted portions of the Declaration of David Y.
     Hwu in Support of Direct Purchaser Plaintiffs’
24
     Opposition to the Irico Defendants’ Amended Motions to       Irico Defendants
25   Dismiss Claims of Direct Purchaser Plaintiffs for Lack
     of Subject Matter Jurisdiction
26
     1
      Irico has thirty (30) days to designate the deposition transcript as “Confidential” or “Highly
27   Confidential” under the terms of the protective order [ECF No. 306]. In an abundance of caution,
     Plaintiffs have included this transcript in the sealing motion although Irico has not yet designated it
28   “Confidential” or “Highly Confidential.” The thirty (30) day period has not yet expired.
                                                          3
     DIRECT PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION TO SEAL DOCUMENTS PURSUANT TO
                  CIVIL LOCAL RULES 7-11 AND 79-5(d); Master File No. 07-CV-5944-JST
        Case 4:07-cv-05944-JST Document 5418 Filed 04/01/19 Page 5 of 5




 1
     Exhibit 3 to the Hwu Declaration                             Irico Defendants
 2

 3           WHEREFORE, Direct Purchaser Plaintiffs respectfully submit this administrative motion
 4   pursuant to the Protective Order, this Court’s Standing Order Governing Administrative Motions to
 5   File Materials Under Seal, and Civil Local Rule 79-5 and hereby notify the parties of their burden
 6   to establish that the designated material is sealable.
 7

 8   Dated: April 1, 2019                                Respectfully submitted,
 9                                                       /s/ R. Alexander Saveri
10                                                       Guido Saveri (22349)
                                                         R. Alexander Saveri (173102)
11                                                       Geoffrey C. Rushing (126910)
                                                         Cadio Zirpoli (179108)
12                                                       Matthew D. Heaphy (227224)
                                                         SAVERI & SAVERI, INC.
13                                                       706 Sansome Street
                                                         San Francisco, CA 94111
14                                                       Telephone: (415) 217-6810
                                                         Facsimile: (415) 217-6813
15
                                                         Lead Counsel for Direct Purchaser Plaintiffs
16

17

18

19

20

21

22

23

24

25

26

27

28
                                                         4
     DIRECT PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION TO SEAL DOCUMENTS PURSUANT TO
                  CIVIL LOCAL RULES 7-11 AND 79-5(d); Master File No. 07-CV-5944-JST
